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                   IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                 HUNTINGTON DIVISION


NEKOASE ANTWAN VINSON,

                             Movant,

v.                                                  CIVIL ACTION NO. 3:12-1372
                                                    (Criminal No. 3:090-00099-02)
UNITED STATES OF AMERICA,

                             Respondent.



                        MEMORANDUM OPINION AND ORDER


       This action was referred to the Honorable Cheryl A. Eifert, United States Magistrate Judge,

for submission to this Court of proposed findings of fact and recommendation for disposition,

pursuant to 28 U.S.C. ' 636(b)(1)(B). The Magistrate Judge has submitted findings of fact and

recommended that Movant’s Motion that the Court consider the merits of his ' 2255 Motion (ECF

No. 373) be granted; motions to Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. '

2255 (ECF No. 347) be denied; and this civil action be dismissed, with prejudice, and removed

from the docket of this Court. Neither party has filed objections to the Magistrate Judge=s

findings and recommendations.

       Accordingly, the Court accepts and incorporates herein the findings and recommendation

of the Magistrate Judge and ORDERS that Movant’s Motion that the Court consider the merits of

his ' 2255 Motion (ECF No. 373) be GRANTED; motions to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. ' 2255 (ECF No. 347) be DENIED; and this civil action be
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DISMISSED, with prejudice, and removed from the docket of this Court, consistent with the

findings and recommendations.

       The Court DIRECTS the Clerk to forward copies of this written opinion and order to all

counsel of record, and any unrepresented parties.




                                             ENTER:       December 4, 2013




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